AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the

                                                 __________ District of __________

                  United States of America
                             v.                                    )
                   KEVIN DANIEL LOFTUS                             )         Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      KEVIN DANIEL LOFTUS                                                                                 ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information         u Superseding Information             ✔ Complaint
                                                                                                                      u
u Probation Violation Petition             u Supervised Release Violation Petition       u Violation Notice           u Order of the Court

This offense is briefly described as follows:

  18 U.S.C. 1752 (a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
  Authority

  40 U.S.C. 5104(e)(2)(A) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds

                                                                            Robin M.                      Digitally signed by Robin
                                                                                                          M. Meriweather

Date:         01/11/2021
                                                                            Meriweather                   Date: 2021.01.11 15:00:46
                                                                                                          -05'00'
                                                                                               Issuing officer’s signature

City and state:       Washington, DC                                       Robin M. Meriweather, United States Magistrate Judge
                                                                                             Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Not for Public Disclosure)

Name of defendant/offender:             KEVIN DANIEL LOFTUS

Known aliases:
Last known residence:                 Westgate Motel - ROOM 16 5799, 1439 North Fairmont Ave, Eau Claire, WI 54703

Prior addresses to which defendant/offender may still have ties:             HOME ADDRESS: 253 1st Ave, Chippewa Falls, WI


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:             07/24/1968

Social Security number:                XXX-XX-XXXX

Height:           5'5"                                                  Weight:       150

Sex:      MALE                                                          Race:        WHITE

Hair:     BROWN                                                         Eyes:        BLUE

Scars, tattoos, other distinguishing marks:          Right forearm - skull




History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:              370743HA1

Complete description of auto:


Investigative agency and address:             Special Agent Jonathan Fugitt - 202-590-6331
                                              FEDERAL BUREAU OF INVESTIGATION

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
